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                          Exhibit 1

        2005 Transfer and Assumption
      Agreement Between PGIC and AEIC
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                                                  PGIC 30(b)(6)

                                                    EX 0001
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